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                       UNITED STATES DISTRICT COURT
               MIDDLE DISTRICT OF FLORIDA – ORLANDO DIVISION


   Liberty Mutual Insurance Company and
   Great American Insurance Company,
                                                   Civil Action No.: 6:24-cv-2180
                  Plaintiffs,

                        -against-

   Orlando Museum of Art, Inc., and Pierce
   O’Donnell, Taryn Burns, and William Force,
   and Basquiat Venice Collection Group, an
   unregistered de facto partnership.

                  Defendants.


        DEFENDANT ORLANDO MUSEUM OF ART, INC.’S MOTION TO
                    REMAND TO STATE COURT

           Defendant Orlando Museum of Art, Inc. (“OMA”), by and through

  undersigned counsel and pursuant to 28 U.S.C. § 1447(c), hereby files this Motion

  to Remand to State Court (the “Motion”), and states:

                                     INTRODUCTION

           Defendants Pierce O’Donnell, Taryn Burns, William Force, and Basquiat

  Venice Collection Group (collectively, the “BVCG Defendants”) attempted to

  remove this case on the basis of diversity of citizenship pursuant to 28 U.S.C. §§

  1441(b) and 1332(a). However, the BVCG Defendants’ Notice of Removal (ECF

  No. 1) is procedurally defective, and this case should be remanded, because it was


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  filed before any of the defendants were served. This is known as “snap removal” and

  is not permitted in this district.

           Separately and alternatively, this case should be remanded under two

  applicable abstention doctrines—Wilton/Brillhart and Colorado River. These

  doctrines caution federal courts of limited jurisdiction to abstain from exercising

  jurisdiction over declaratory judgment actions (like this one) and other actions where

  there are parallel state court proceedings. These doctrines apply, and this Court

  should abstain, because there is a parallel proceeding pending in the Ninth Judicial

  Circuit, in and for Orange County, Florida, styled Orlando Museum of Art, Inc. v.

  Aaron De Groft, Case No.: 2023-CA-014410-O (the “Orange County Action”). As

  set forth in more detail below, the Orange County Action concerns the same subject

  matter and largely the same factual and legal questions as this case. Therefore, the

  principles of judicial economy, federalism, and comity support this Court’s

  abstention and remand.

                  PROCEDURAL AND FACTUAL BACKGROUND

  I.       This Case.

           1.   Plaintiffs Liberty Mutual Insurance Company and Great American

  Insurance Company (collectively, “Plaintiffs”), originally filed this case in the Ninth

  Judicial Circuit, in and for Orange County, Florida, on November 17, 2024 (ECF

  No. 1-3).


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           2.   Plaintiffs sued OMA and the BVCG Defendants seeking declaratory

  judgments after the BVCG Defendants made a claim under a policy of insurance

  seeking indemnity for the purported loss of artwork represented by the BVCG

  Defendants to have been created by Jean-Michel Basquiat. See id.

           3.   The subject artwork is owned by the BVCG Defendants and was loaned

  to OMA for exhibition. See id. During the exhibition, the FBI executed on a warrant

  to seize the subject artwork, as part of an ongoing investigation into the artwork’s

  claimed authenticity and provenance. See id.

           4.   Plaintiffs are seeking a declaration that the subject artwork is, in fact,

  inauthentic and, as a result, not covered under the policy. See id. Plaintiffs are also

  seeking a declaration that the FBI’s seizure of the subject artwork does not constitute

  a “complete loss,” such that there is no coverage under the policy. See id. Plaintiffs

  are also seeking a declaration that the BVCG Defendants were only added as

  additional insureds under the policy based on material misrepresentations about the

  purported authenticity of the subject artwork, such that the BVCG Defendants are

  not entitled to coverage under the policy. See id.

           5.   The only relief Plaintiffs are seeking is declaratory in nature. See id.

  II.      The Notice of Removal.

           6.   The BVCG Defendants attempted to remove this case to this Court via

  Notice of Removal filed on November 27, 2024. (ECF No. 1).


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           7.    The BVCG Defendants’ Notice of Removal reflects that it was filed

  before OMA and the BVCG Defendants were served. See id. at ¶¶ 2, 19, 20.

           8.    The BVCG Defendants claim that because OMA had not yet been

  served when they filed their Notice of Removal, OMA’s joinder in or consent to the

  removal of this case is not required. See id. at ¶ 20.

           9.    In fact, OMA neither joins in nor consents to the BVCG Defendants’

  Notice of Removal.

  III.     The Orange County Action.

           10.   On August 14, 2023—more than one year before Plaintiffs filed this

  case—OMA filed a case against the BVCG Defendants and others in the Ninth

  Judicial Circuit, in and for Orange County, Florida (to wit, the “Orange County

  Action”). A true and correct copy of OMA’s Complaint is attached hereto as Exhibit

  A.1

           11.   OMA’s Complaint in the Orange County Action arises out of and

  concerns the same subject artwork as Plaintiffs’ Complaint in this case. Compare

  id. and Ex. A.

           12.   OMA’s Complaint stated claims for fraud, breach of fiduciary duty,

  aiding and abetting breach of fiduciary duty, conspiracy, and breach of contract,



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    OMA requests for this Court to take judicial notice of the Complaint and all other
  filings in the Orange County Action pursuant to Federal Rule of Evidence 201.
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  which claims pled and will necessitate a finding upon proof not only that the subject

  artwork is inauthentic, but also that the BVCG Defendants and others acting in

  concert with them knew the subject artwork was inauthentic when they loaned it to

  OMA for exhibition. See generally Ex. A.

           13.   The Orange County Action is still pending and is governed by a Case

  Management Order that, among other things, set the anticipated 15-day jury trial

  during the trial period beginning October 13, 2025. A true and correct copy of the

  Case Management Order is attached as Exhibit B.

           14.   Although OMA voluntarily dismissed its claims against the BVCG

  Defendants without prejudice, the BVCG Defendants are necessary witnesses for

  purposes of discovery and trial in the Orange County Action.

  IV.      The Requested Consolidation.

           15.   Given the overlap in parties and issues as between this case and the

  Orange County Action, when Plaintiffs filed this case, they filed it in the jurisdiction

  where the Orange County Action was already pending.

           16.   Not only that, Plaintiffs expressly requested for this case to be

  consolidated with the Orange County Action. See (ECF No. 1-3), ¶ 3.

                                MEMORANDUM OF LAW

  I.       This Case Should be Remanded Because the BVCG Defendants’ “Snap
           Removal” was Procedurally Improper and Ineffective.

           “[A]ny civil action brought in a State court of which the district courts of the

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  United States have original jurisdiction, may be removed . . . to the district court of

  the United States for the district and division embracing the place where such action

  is pending.” 28 U.S.C. § 1441(a). Removal can be challenged on both jurisdictional

  and procedural grounds, and the removing party “bears the burden of proving that

  this Court has federal jurisdiction” and “establishing compliance with removal

  statute requirements.” Moultrop v. GEICO Gen. Ins. Co., 858 F. Supp. 2d 1342, 1344

  (S.D. Fla. 2012). In determining whether removal is procedurally proper, this Court

  must look to 28 U.S.C. §1446(b)(2)(A), which states: “[w]hen a civil action is

  removed solely under section 1441(a), all defendants who have been properly joined

  and served must join in or consent to the removal of the action.”

           Here, the BVCG Defendants’ purported removal of this case was procedurally

  improper and ineffective because it was done prior to service on any of the

  defendants, which is known colloquially as “snap removal.” Snap removal is

  disfavored in the Eleventh Circuit and this district. See Goodwin v. Reynolds, 757

  F.3d 1216, 1221 (11th Cir. 2014). OMA adopts and incorporates Plaintiffs’

  arguments against snap removal, as set forth in Plaintiffs’ separate Motion to

  Remand, and requests remand on those same bases.

  II.      Alternatively, this Court Should Abstain and this Case Should be
           Remanded.

           A.    The Wilton/Brillhart Abstention Doctrine Applies.

           Under the Wilton/Brillhart doctrine, a district court can dismiss or stay a

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  declaratory judgment action, despite having subject matter jurisdiction over the

  claim. Wilton v. Seven Falls Co., 515 U.S. 277, 282 (1995) (“[D]istrict courts possess

  discretion in determining whether and when to entertain an action under the

  Declaratory Judgment Act, even when the suit otherwise satisfies subject matter

  jurisdictional prerequisites.”); Brillhart v. Excess Ins. Co., 316 U.S. 491, 495 (1942)

  (“Ordinarily it would be uneconomical as well as vexatious for a federal court to

  proceed in a declaratory judgment suit where another suit is pending in a state court

  presenting the same issues . . . .”).

           Prior to addressing whether the Wilton/Brillhart doctrine applies, this Court

  first must determine whether to apply federal or state law to this case. See Protective

  Ins. Co. v. Compher, Case No. 3:11-cv-183-J-34TEM, 2012 WL 13098685, *2-*3

  (M.D. Fla. Nov. 26, 2012). “A federal court sitting in diversity must apply federal

  procedural law and state substantive law.” Id. at *3 (citing Burke v. Smith, 252 F.3d

  1260, 1265 (11th Cir. 2001) (citing Erie R. Co. v. Tompkins, 304 U.S. 64, 78 (1938))).

  “. . . [T]he Court’s discretion with respect to declaratory relief is specifically derived

  from the federal Declaratory Judgment Act, which the Eleventh Circuit has held to

  be procedural in nature.” Id. at *3 (citing GTE Directories Publ’g Corp. v. Trime

  Am., Inc.¸ 67 F.3d 1563, 1567 (11th Cir. 1995)) (citation omitted).

           Accordingly, and even where a complaint—like Plaintiffs’ Complaint in this

  case—seeks declaratory relief pursuant to the Florida Declaratory Judgment Act,


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  rather than the Federal Declaratory Judgment Act—the Federal Declaratory

  Judgment Act still governs any procedural matters. See id. (citing Manuel v.

  Convergys Corp., 430 F.3d 1132, 1138 n.3 (11th Cir. 2005) (“There is little doubt,

  and the parties do not argue otherwise, that the district court had to apply the [federal]

  Declaratory Judgment Act . . . rather than the [Georgia] state declaratory judgment

  act, in this action.”)) (other citation omitted).

           Applying the procedural requirements of the Federal Declaratory Judgment

  Act to this case warrants abstention and remand, because the Federal Declaratory

  Judgment Act affords this Court substantial discretion to decline to exercise

  jurisdiction over Plaintiffs’ declaratory judgment claims. Where the Federal

  Declaratory Judgment Act applies, a district court is permitted, but is not required,

  to exercise jurisdiction over a claim for declaratory relief. Brillhart, 316 U.S. at 494.

  “[T]he Supreme Court has noted that the language of the Declaratory Judgment Act

  itself, which provides that a federal court ‘may declare the rights and other legal

  relations of any interested party seeking such declaration,’ demonstrates that the

  Declaratory Judgment Act is ‘an enabling Act, which confers a discretion on the

  courts rather than an absolute right upon the litigant.’” Compher, 2012 WL

  13098685 at *4 (quoting Wilton, 515 U.S. at 286-87) (emphasis in original).

           “At least where another suit involving the same parties and presenting

  opportunity for ventilation of the same state law issues is pending in state court, a


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  district court might be indulging in gratuitous interference if it permitted the federal

  declaratory action to proceed.” Wilton, 515 U.S. at 283 (citations omitted).

  “Gratuitous interference with the orderly and comprehensive disposition of a state

  court litigation should be avoided.” Brillhart, 316 U.S. at 495. Further, the first-filed

  rule should not be disregarded lightly. The party objecting to jurisdiction in the first-

  filed forum carries the burden of proving “compelling circumstances to warrant an

  exception to the first-filed rule.” Manuel v. Convergys Corp., 460 F.3d 1132, 1135

  (11th Cir. 2005) (citing Merrill Lynch, Pierce, Fenner & Smith, Inc. v Haydu, 675

  F.2d 1169, 1174 (11th Cir. 1982)).

           A court’s primary consideration in deciding whether to abstain under the

  Wilton/Brillhart doctrine is the existence of a parallel state court proceeding. See

  Centennial Life Ins. v. Poston, 88 F.3d 255, 257 (4th Cir. 1996) (“[W]hen a related

  state proceeding is underway, a court considering a declaratory judgment action

  should specifically consider whether the controversy ‘can better be settled in the

  proceeding pending in the state court’.”) (quoting Brillhart, 316 U.S. at 495)). When

  a parallel state action is pending, courts encourage dismissal of the federal

  declaratory judgment claim. See, e.g., Aetna Casualty & Surety v. Ind-Com Elec.,

  139 F.3d 419, 422 (4th Cir. 1998) (“[T]he existence of such a proceeding should be

  a significant factor in the district court’s determination”); Mutual Benefit Ins. v.

  Lorence, 189 F. Supp. 2d 298, 301 (D. Md. 2002) (“[T]he most common


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   circumstance justifying a district court’s dismissal of a declaratory judgment action

   is the pendency of a parallel state court action….”)

            Here, the pending Orange County Action is properly considered a “parallel

   state court action” supporting abstention under the Wilton/Brillhart doctrine. As set

   forth above, Plaintiffs’ Complaint in this case and OMA’s Complaint in the Orange

   County Action arise out of the same facts and concern the same legal questions—to

   wit, whether the subject artwork is inauthentic and whether the BVCG Defendants

   and others acting in concert with them knew the subject artwork was inauthentic

   when they loaned it to OMA for exhibition. Compare (ECF No. 1-3) at ¶¶ 1-6, 29-

   55, and 59-89 with Ex. A at ¶¶ 1-6, 30-47, 221, 237, 252, 261, 263, 266, and 268. If

   the subject artwork is found to be inauthentic, and if the BVCG Defendants are found

   to have known that the subject artwork was inauthentic when they loaned it to OMA,

   then there will necessarily be no those findings will likely resolve the declarations

   sought by Plaintiffs in this case about whether there is insurance coverage for the

   subject artwork. Stated another way, the factual and legal determinations that will

   be made in the first-filed Orange County Action will likely determine most if not all

   of the factual and legal issues in this case.

            Even when another lawsuit is found not to be technically “parallel,” abstention

   under the Wilton/Brillhart doctrine may still be warranted. See First Mercury Ins.

   Co. v. Excellent Computing Distrs., Inc., 648 F. App’x 861, 866 (11th Cir. 2016)


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   (“Indeed, nothing in the Declaratory Judgment Act suggests that a district court’s

   discretionary authority exists only when a pending state proceeding shares

   substantially the same parties and issues.”) Rather, the Eleventh Circuit has provided

   “guideposts” for district courts to consider when determining whether to proceed

   with a declaratory judgment action while another lawsuit is pending in state court.

   See Ameritas Variable Life Ins. v. Roach, 411 F.3d 1328, 1331 (11th Cir. 2005) (“Our

   list is neither absolute nor is any one factor controlling; these are merely guideposts

   in furtherance of the Supreme Court’s admonitions in Brillhart and Wilton”); see

   also First Mercury Ins. v. Excellent Computing Distribs., 648 F. App’x 861, 867

   (11th Cir. 2016) (“not every factor will be relevant in every case”).

            In Ameritas, the Eleventh Circuit Court provided the following non-

   exhaustive list of factors for district courts to consider when deciding whether to

   exercise jurisdiction over a declaratory judgement action where an underlying state

   court action involves some of the same issues:

            (1)   the strength of the state’s interest in having the issues raised in the
                  federal declaratory action decided in the state courts;

            (2)   whether the judgment in the federal declaratory action would settle the
                  controversy;

            (3)   whether the federal declaratory action would serve a useful purpose in
                  clarifying the legal relations at issue;

            (4)   whether the declaratory remedy is being used merely for the purpose of
                  “procedural fencing”—that is, to provide an arena for a race for res
                  judicata or to achieve a federal hearing in a case otherwise not

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                  removable;

            (5)   whether the use of a declaratory action would increase the friction
                  between our federal and state courts and improperly encroach on state
                  jurisdiction;

            (6)   whether there is an alternative remedy that is better or more effective;

            (7)   whether the underlying factual issues are important to an informed
                  resolution of the case;

            (8)   whether the state trial court is in a better position to evaluate those
                  factual issues than is the federal court; and

            (9)   whether there is a close nexus between the underlying factual and legal
                  issues and state law and/or public policy, or whether federal common
                  or statutory law dictates a resolution of the declaratory judgment action.

   See Ameritas, 411 F.3d at 1331.

            The Ameritas factors weigh in favor of abstention. In the Orange County

   Action, OMA initially sued the same BVCG Defendants (among others) that

   removed this this case, in a dispute that turns on the authenticity of the same subject

   artwork. OMA’s Complaint was filed more than one year ago—in August 2023—

   and the question of whether the subject artwork is authentic has been subject to the

   jurisdiction of the state court for just as long. The state court has already acquired a

   heightened degree of familiarity with the facts and legal issues pertaining to the

   authenticity dispute. This case similarly turns on the key factual question of whether

   the subject artwork is authentic. Compare (ECF No. 1-3) at ¶¶ 1-6, 29-55, and 59-

   89 with Ex. A at ¶¶ 1-6, 30-47, 221, 237, 252, 261, 263, 266, and 268.

            To have the Orange County Action run in parallel to this case—in different

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   jurisdictions—would be to duplicate discovery into the same key underlying issues

   of fact and law, which are not only “important to an informed resolution of the case,”

   but necessary. The state court, having presided over these same issues for 16 months,

   is currently “in a better position to evaluate those factual issues than is the federal

   court.” Moreover, this case in no way turns on “federal common or statutory law”;

   rather, it turns on Florida’s state law on rescission and avoidance of an insurance

   policy.

            There is also no indication that Plaintiffs filed this case to start a race for res

   judicata. No special need for federal expertise is apparent; allowing the Orange

   County Action to run its course would finish almost all of the work required to

   resolve this case. Under the circumstances as viewed in light of the Ameritas factors,

   most of the factors are satisfied in favor of this Court’s abstention and remand.

            B.    The Colorado River Abstention Doctrine Applies.

            Abstention is also proper under the Colorado River abstention doctrine. See

   Colorado River Water Conservation Dist. v. U.S., 424 U.S. 800, 817 (1976). In

   Colorado River, the Supreme Court stated: “Generally, as between state and federal

   courts, the rule is that ‘the pendency of an action in the state court is no bar to

   proceedings concerning the same matter in the Federal court having jurisdiction . . .

   .’” 424 U.S. at 817 (emphasis added).

            The Supreme Court explained, however, that there are “circumstances


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   permitting the dismissal of a federal suit due to the presence of a concurrent state

   proceeding for reasons of wise judicial administration,” although they “are

   considerably more limited than the circumstances appropriate for abstention.” Id. at

   818. “In assessing the appropriateness of dismissal in the event of an exercise of

   concurrent jurisdiction, a federal court may also consider such factors as the

   inconvenience of the federal forum; the desirability of avoiding piecemeal litigation;

   and the order in which jurisdiction was obtained by the concurrent forums. No one

   factor is necessarily determinative . . . .” Id. at 818-19 (citations omitted).

            Colorado River found that the district court’s dismissal of the federal case was

   warranted where a pending state case would, inter alia, adequately dispose of the

   issues. Likewise, here, and for the same reasons as set forth above in the discussion

   of the Wilton/Brillhart doctrine, abstention under the Colorado River doctrine is

   appropriate. Because the Orange County Action and this case both turn on the same

   underlying factual questions of whether the subject artwork is authentic, and whether

   the BVCG Defendants and others acting in concert with them knew the subject

   artwork was inauthentic when they loaned it to OMA, the desirability of avoiding

   piecemeal litigation and potentially inconsistent results is high. And, because the

   state court obtained jurisdiction over that factual dispute and certain of the same

   parties first—more than a year before the BVCG Defendants attempted their

   strategic removal of this case—that factor also weighs in favor of abstention.


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            Put simply, this case should be remanded and consolidated with the pending

   Orange County Action, as Plaintiffs originally intended when they filed this case in

   state court, because the state court case is positioned to dispose of the same issues

   adequately, and potentially more efficiently and with less risk of inconsistent results,

   than this Court.

   III.     OMA is Entitled to its Reasonable Fees and Costs.

            28 U.S.C. § 1447(c) provides, in pertinent part, that “[a]n order remanding the

   case may require payment of just costs and any actual expenses, including attorney

   fees, incurred as a result of the removal.” The Supreme Court has held that “[a]bsent

   unusual circumstances, courts may award attorney’s fees under § 1447(c) only where

   the removing party lacked an objectively reasonable basis for seeking removal.”

   Martin v. Franklin Capital Corp., 546 U.S. 132, 141 (2005); see also Bauknight v.

   Monroe County, Fla., 446 F.3d 1327, 1329 (11th Cir. 2006). The purpose of this

   statute is to “reduce[] the attractiveness of removal as a method for delaying

   litigation and imposing costs on the plaintiff.” Martin, 546 U.S. at 140.

            Here, the BVCG Defendants lacked an objectively reasonable basis for

   seeking removal because the impropriety of “snap removal” in this circuit has been

   evident since Goodwin. The BVCG Defendants’ removal was a transparent attempt

   to sidestep the forum-defendant rule and increase litigation costs and delay. This

   Court should grant OMA’s Motion and award OMA its reasonable fees and costs for


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   having had to so move.

                                     CONCLUSION

            WHEREFORE, OMA respectfully requests for this Court to remand this case,

   to award OMA its reasonable fees and costs, and for any other relief deemed just and

   proper.

                        LOCAL RULE 3.01(g) CERTIFICATION

            The movant certifies that she conferred in good faith with counsel for the

   BVCG Defendants, by phone on December 26, 2024. Movant and counsel for the

   BVCG Defendants discussed this Motion in detail but were unable to agree and,

   therefore, the BVCG Defendants were unable to consent.

            Dated: December 27, 2024.

                                          Respectfully submitted,

                                          /s/ Sara A. Brubaker
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                             CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on December 27, 2024, I electronically filed the

   foregoing with the Clerk of Court by using the CM/ECF system, which will send a

   notice of electronic filing to all counsel of record.

                                     /s/ Sara A. Brubaker
                                     Sara A. Brubaker
                                     Florida Bar Number: 0105769




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